 Case 2:17-cv-06848-DMG-PLA Document 171-1 Filed 10/13/21 Page 1 of 3 Page ID
                                  #:3465

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8
                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
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11   CHRISTY PALMER, VARTAN                   CASE NO. 17-CV-6848 DMG (PLAx)
     PIROUMIAN, EDWARD COX, and
12   JEAN-CLAUDE FRANCHITTI,                  KOTCHEN DECLARATION IN
13                                            SUPPORT OF JOINT STIPULATION
                         Plaintiffs,          REGARDING DISCOVERY DISPUTE
14
           v.
15
                                              Complaint Filed: September 18, 2017
     COGNIZANT TECHNOLOGY
16
     SOLUTIONS CORPORATION and
17   COGNIZANT TECHNOLOGY
     SOLUTIONS U.S. CORPORATION,
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19                       Defendants.
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                KOTCHEN DECL. IN SUPPORT OF JOINT STIP. RE DISCOVERY DISPUTE
                                 Case No. 17-CV-6848 DMG (PLAx)
 Case 2:17-cv-06848-DMG-PLA Document 171-1 Filed 10/13/21 Page 2 of 3 Page ID
                                  #:3466

1    Daniel Kotchen deposes and states as follows:
2          1.      I am an attorney licensed to practice law in the District of Columbia and the
3    State of Wisconsin. I am a partner with Kotchen & Low LLP, and represent the Plaintiffs
4    in the above-captioned matter. I am over the age of eighteen and have personal knowledge
5    of the matters stated herein.
6          2.      On August 14, Plaintiffs sent Cognizant a Rule 37-1 letter identifying the
7    various deposition deficiencies. The parties met and conferred regarding the Rule 30(b)(6)
8    deficiencies in-person on August 23, 2021 and via telephone on September 1, 2021.
9    Cognizant’s attorneys would not agree to present a corporate representative who was
10   knowledgeable or otherwise capable of fully responding to the five topics, but rather,
11   insisted on providing information through letters prepared by counsel. While Cognizant
12   subsequently provided some additional information in written form, most of the missing
13   information has not yet been provided.
14         3.      Attached hereto are true and correct copies of the following documents:
15              • Exhibit 1: Fullerton Rule 30(b)(6) Deposition Transcript (Aug. 6, 2021)
16              • Exhibit 2: Email from K. Smith to D. Kotchen, et al. (Sept. 29, 2021)
17              • Exhibit 3: Fullerton Deposition Exhibit 8
18              • Exhibit 4: Fullerton Deposition Exhibit 7
19         4.      Pursuant to L.R. 37-2.1, attached hereto as Exhibit 5 is a true and correct
20   copy of the Court’s initial Schedule of Pretrial & Trial Dates (Dkt. #75-1). Attached hereto
21   as Exhibit 6 is a true and correct copy of the Court’s February 19, 2020 Order Approving
22   Joint Stipulation to Extend Case Deadlines (Dkt. #79). Attached hereto as Exhibit 7 is a
23   true and correct copy of the Court’s December 28, 2020 Order Approving Second Joint
24   Stipulation to Extend Case Deadlines (Dkt. #143). Attached hereto as Exhibit 8 is a true
25   and correct copy of the Court’s August 19, 2021 Order re Plaintiffs’ Motion to Extend
26   Case Schedule (Dkt. #157). Attached hereto as Exhibit 9 is a true and correct copy of the
27   Court’s July 9, 2021 Order re Discovery Disputes (Dkt. #153). Attached hereto as Exhibit
28   10 is a true and correct copy of the parties’ June 23, 2021 Joint Stipulation re Discovery

                KOTCHEN DECL. IN SUPPORT OF JOINT STIP. RE DISCOVERY DISPUTE
                                 Case No. 17-CV-6848 DMG (PLAx)
 Case 2:17-cv-06848-DMG-PLA Document 171-1 Filed 10/13/21 Page 3 of 3 Page ID
                                  #:3467

1    Disputes (Dkt. #150). Attached hereto as Exhibit 11 is a true and correct copy of the
2    Court’s September 16, 2021 Order re Request for Clarification (Dkt. 163).
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4    DATED: October 11, 2021                     By: /s/Daniel Kotchen
                                                 Daniel Kotchen
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             KOTCHEN DECL. IN SUPPORT OF JOINT STIP. RE: DISCOVERY DISPUTE
                              Case No. 17-CV-6848 DMG (PLAx)
